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               Donald J. Trump @
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        April is the biggest month of Traffic on TRUTH SOCIAL, by far. It has become one of the most
        important "Voices" in the Universe, because it is my Voice, but the Fake News, most of which is
        dying, or dead, refuses to report on it, or its relevance. WHEN I TRUTH, IT GOES ALL OVER THE
        PLACE. REMEMBER THAT, AND WATCH!

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